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                                        Exhibit A

                                     Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                       SEVENTH OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                      REAL PROPERTY NUNC PRO TUNC TO OCTOBER 31, 2018 AND
                    (B) ABANDON CERTAIN PERSONAL PROPERTY IN CONNECTION
                          THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto, nunc pro tunc to the Rejection Date and (b) abandon the Remaining

         Property, effective as of the Rejection Date (as defined below), and (ii) granting related relief, all

         as more fully set forth in the Motion; and the Court being able to issue a final order consistent

         with Article III of the United States Constitution; and venue of this proceeding and the Motion

         being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and the

         opportunity for a hearing on the Motion having been given and it appearing that no other or

         further notice need be provided; and this Court having reviewed the Motion and having heard the

         statements in support of the relief requested therein at a hearing before this Court; and all

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         objections, if any, to the Motion having been withdrawn, resolved or overruled; and the relief

         requested in the Motion being in the best interests of the Debtors’ estates, their creditors and

         other parties in interest; and this Court having determined that the legal and factual bases set

         forth in the Motion establish just cause for the relief granted herein; and after due deliberation

         and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007, to reject the Leases set forth on the

         attached Schedule 1, effective with respect to each Lease as of the later of (a) October 31, 2018

         and (b) the date on which the Debtors surrender possession of the Closing Store to the Lease

         counterparty by notifying the affected Lease counterparty in writing thereof and (i) turn over the

         store keys, key codes, or security codes, if any, to the Lease counterparty or (ii) notify the

         affected Lease counterparty in writing that the store keys, key codes, or security codes, if any,

         are not available and that the Lease counterparty may re-key the store (each such rejection

         effective date, the “Rejection Date”).

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The counterparties under the Leases are authorized to dispose

         of any Remaining Property without further notice or any liability to the Debtors or any third

         parties and without waiving any claims against the Debtors. The automatic stay is modified to

         the extent necessary to allow the disposition of any Remaining Property.




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                 4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the counterparties under the Leases.

                 5.      If a Lease counterparty wishes to assert a claim arising from the rejection of the

         Lease, the Lease counterparty shall file with the Debtors’ claims and noticing agent a proof of

         claim before the deadline specified in the Notice of Effective Date to be filed by the Debtors

         with the Court. The Notice of Effective Date will be made available on the website of the

         Debtors’ claims and noticing agent at http://dm.epiq11.com/MFLeaseRejection. The proof of

         claim    form     and     instructions    for    submission      may       also   be   obtained    at

         http://dm.epiq11.com/MFLeaseRejection.

                 6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.




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                7.       By entry of this Order, the Debtors do not waive any claims that they may have

         against any counterparty to the Leases, whether or not such claims arise under, are related to the

         rejection of, or are independent of the Leases.

                8.       Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.

                9.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.

                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.




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                13.     This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware
                                                    CHRISTOPHER S. SONTCHI
                                                    CHIEF UNITED STATES                  BANKRUPTCY
                                                    JUDGE




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                                       Schedule 1

                                         Leases




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                                                             Schedule 11

                    STORE             LEASE COUNTERPARTY                                                  PROPERTY
                                                                                  DEBTOR
                   NUMBER                    AND ADDRESS                                                   ADDRESS
                                     RB Schererville Crossings, LLC
                              c/o Regency Centers Corp. One Independent
             1.                                                                 Mattress Firm,        69 US Highway 41,
                   119055                     Drive, Suite 114
                                                                                     Inc.            Schererville, IN 46375
                                      ATTN: Lease Administration
                                      Jacksonville, FL, 32202-5019
                                        REI Equity Partners 7 LLC
             2.                                                                 Mattress Firm,        141 N. Mall Drive,
                   112001                5 River Road, Suite 105
                                                                                     Inc.             Appleton, WI 54913
                                             Wilton, CT, 06897
                                         Roosevelt Galleria, LLC
                                          c/o Acadia Realty Trust
             3.                                                                 Mattress Firm,        605 West Roosevelt
                   119247         639 W. Diversey Parkway, Suite 202
                                                                                     Inc.           Road, Chicago, IL 60607
                                      ATTN: Property Management
                                            Chicago, IL, 60614
                                     RVT Hamilton Commons, LLC
                                                                                                    530 Hamilton Commons
             4.                 c/o DDR Corp. 3300 Enterprise Parkway
                   162027                                                        Sleepy's, LLC       Drive, Mays Landing,
                                Attn: Executive Vice President - Leasing
                                                                                                           NJ 08330
                                         Beachwood, OH, 44122
                                         RVT Kyle Crossing LLC
                                              c/o DDR Corp.
             5.                                                                 Mattress Firm,      5167 Kyle Center Drive,
                   004081                3300 Enterprise Parkway
                                                                                     Inc.           Ste 100, Kyle, TX 78640
                               ATTN: Executive Vice President - Leasing
                                         Beachwood, OH, 44122
                                       San Joseph Properties, LLC
                                                                                                     440 South State Rd. Ste.
             6.                  9300 S. Dadeland Boulevard, Suite 600          Mattress Firm,
                   052118                                                                            200, Royal Palm Beach,
                                        ATTN: Robert Taraboulos                      Inc.
                                                                                                           FL 33414
                                             Miami, FL, 33156
                                 Schaumburg Court Limited Partnership
                                                                                                     180 South Barrington
             7.                    c/o Shiner Management Group, Inc.            Mattress Firm,
                   119253                                                                            Road, Schaumburg, IL
                                  3201 Old Glenview Road, Suite 301                  Inc.
                                                                                                            60194
                                            Wilmette, IL, 60091
                                        Schultze & Associates, LP
                                    c/o Alliance Commercial Property                                1497 Concord Parkway
             8.                                                                 Mattress Firm,
                   024046                       Management                                          North, Ste 100, Concord,
                                                                                     Inc.
                                              P.O. Box 9537                                                NC 28025
                                          Greensboro, NC, 27429
                                         SCP MF Asheboro, LLC
             9.                   c/o Succession Capital Partners, LLC          Mattress Firm,        1334 E. Dixie Hwy,
                   017028
                                            635 Mabry Avenue                         Inc.             Asheboro, NC 27203
                                            Norfolk, VA, 23504
                                               Shantalla, Ltd.
             10.                                                               The Sleep Train,      8604 Miramar Rd, San
                   503009                   8606 Miramar Road
                                                                                     Inc.              Diego, CA 92126
                                           San Diego, CA, 92126
                                Southstar Holdings -- Burlington II, LLC
                                   c/o Crossroads Realty Group, LLC                                    106 Huffman Mills
             11.                                                                Mattress Firm,
                   017018                     P.O. Box 36799                                          Road, Burlington, NC
                                                                                     Inc.
                                         ATTN: Jeffrey D. Mathis                                             27215
                                           Charlotte, NC, 28236


         1
           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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                 STORE          LEASE COUNTERPARTY                                             PROPERTY
                                                                        DEBTOR
                NUMBER                 AND ADDRESS                                              ADDRESS
                              Southtown Outlot Associates, LLC
          12.                                                         Mattress Firm,      3020 South 108th Street
                059004                N 9274 Windy Way
                                                                           Inc.            , West Allis, WI 53227
                                   Mukwonago, WI, 53149
                                  Speedway Commerce LLC
                                                                                            8561 Concord Mills
          13.                            P.O Box 9091                 Mattress Firm,
                024025                                                                    Boulevard, Concord, NC
                                  ATTN: Reza Jafari Rancho                 Inc.
                                                                                                  28027
                                     Santa Fe, CA, 92067
                                Superstition Marketplace LLC
          14.                          c/o JBI Company                Mattress Firm,      1155 S. Power Road, Ste
                029108
                                  7502 E. Buena Terra Way                  Inc.            112, Mesa, AZ 85206
                                    Scottsdale, AZ, 85250
                         The Edward and Zlaine Machado Trust d/b/a
                               Oracle Village Shopping Center
          15.                                                         Mattress Firm,       3976 N. Oracle Road,
                062001          c/o Romano Real Estate Corp.
                                                                           Inc.             Tucson, AZ 85705
                                     3900 E. Via Palomita
                                      Tucson, AZ, 85718
                                The Greene Town Center LLC
          16.                        c/o Olshan Properties            Mattress Firm,         10 Greene Blvd.,
                034009
                             5500 New Albany Road E, Suite 200             Inc.           Beavercreek, OH 45440
                                   New Albany, OH, 43054
                                    The Rocklin Academy                                      2204 Plaza Dr.
          17.                                                         The Sleep Train,
                900401        2204 Plaza Dr. Suite 200, 205, 215                            Suite 200, 205, 215
                                                                            Inc.
                                      Rocklin, CA 95765                                     Rocklin, CA 95765
                                   The Wright Pantano LLC
          18.              8987 E Tanque Verde Rd, Suite 309-409      Mattress Firm,      7861 North Oracle Blvd,
                062012
                                     ATTN: Bruce Wright                    Inc.            Oro Valley, AZ 85704
                                      Tucson, AZ, 85749
                           THF-CG Charleston Limited Partnership
                                                                                             2550 Mountaineer
          19.                    c/o TKG Management, Inc.             Mattress Firm,
                087002                                                                     Boulveard, Charleston,
                             211 North Stadium Blvd., Suite 201            Inc.
                                                                                                WV 25309
                                    Columbia, MO, 65203
                                    Thunder D, LLC 8203
          20.                                                         Mattress Firm,         5601 TX-121, The
                002141                   Espanola Trail
                                                                           Inc.              Colony, TX 75056
                                      Austin, TX, 78737
                                    TMT Pointe Plaza, Inc.
          21.             c/o Mid-America Asset Management, Inc.      Mattress Firm,        5764 West Touhy
                119232
                                One Parkview Plaza, 9th Floor              Inc.           Avenue, Niles, IL 60714
                                Oakbrook Terrace, IL, 60181
                                 Town Square Partners LLC
                                                                                             1134 Town Square
          22.                   c/o Bluejay Management LLC
                168057                                                 Sleepy's, LLC        Road, Pottstown, PA
                                   301 Mill Road, Suite L6
                                                                                                   19465
                                      Hewlett, NY, 11557
                            TRIADELPHIA ASSOCIATES LLC
          23.                    c/o The Schreiber Company            Mattress Firm,         440 Cabela Drive,
                087004
                                       609 Epsilon Drive                   Inc.           Triadelphia, WV 26058
                                    Pittsburgh, PA, 15238
                                   TRT Beaver Creek LLC
                          c/o Dividend Capital Diversified Property
                                                                                            1067 Beaver Creek
          24.                                Fund                     Mattress Firm,
                013012                                                                     Commons Dr., Apex,
                                  518 17th Street, 17th Floor              Inc.
                                                                                                NC 27502
                                  ATTN: Asset Management
                                      Denver, CO, 80202

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                 STORE       LEASE COUNTERPARTY                                        PROPERTY
                                                                   DEBTOR
                NUMBER             AND ADDRESS                                          ADDRESS
                                  TRT Wareham LLC
                                                                                    2991 Cranberry Hwy,
          25.                 c/o Keypoint Partners, LLC
                173033                                            Sleepy's, LLC    Suite L, East Wareham,
                                   174 Colony Place
                                                                                         MA 02538
                                 Plymouth, MA, 02360
                           VEREIT MT Lady Lake FL LLC
          26.                      c/o VEREIT, Inc.               Mattress Firm,   692 B Hwy 441 North,
                053051
                         2325 East Camelback Road, Suite 1100          Inc.        Lady Lake, FL 32159
                                  Phoenix, AZ, 85016
                                                                                    4439 Virginia Beach
                                 Wynn Nail Spa, LLC
          27.                                                     Mattress Firm,            Blvd.
                061028        4439 Virginia Beach Blvd.
                                                                       Inc.          Virginia Beach, VA
                            Virginia Beach, VA 23462-3100
                                                                                        23462-3100




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